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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,
                                                            : CRIMINAL NO: 2:15-CR-228
                      v.


JOHN RAPHAEL,

                              Defendant.


                       SATISFACTION OF CRIMINAL JUDGMENT

       The judgment in the above-entitled case having been paid, the Clerk of the United States

District Court for the Southern District of Ohio is hereby authorized and empowered to cancel said

judgment of record regarding monetary penalties with the exception of any asset forfeiture

judgments which may have been imposed.


                                                            Respectfully submitted,

                                                            BENJAMIN C. GLASSMAN
                                                            United States Attorney



                                                            s/ Bethany J. Hamilton
                                                            BETHANY J. HAMILTON (0075139)
                                                            Assistant United States Attorney
                                                            Southern District of Ohio
                                                            303 Marconi Boulevard, Suite 200
                                                            Columbus, Ohio 43215-2401
                                                            (614) 469-5715
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                               CERTIFICATE OF SERVICE

       A true copy of the above and foregoing Satisfaction of Judgment was electronically filed

with the Clerk of the Court using the CM/ECF system and mailed to Defendant, John Raphael,

261 E. North Broadway, Columbus, Ohio 43214, by first class mail, postage prepaid, this 17th day

of November, 2016.




                                                           s/ Bethany J. Hamilton
                                                           Bethany J. Hamilton (0075139)
                                                           Assistant United States Attorney
